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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Senior Judge John L. Kane


Date: December 12, 2022
Courtroom Deputy: Bernique Abiakam
Court Reporter: Janet Coppock

Civil Action No.: 22-cv-02886-JLK


BRANDON PRYOR,                                        Samantha L. Pryor


       Plaintiff,
v.

SCHOOL DISTRICT NO. 1
d/b/a DENVER PUBLIC SCHOOLS;
SUPERINTENDENT ALEX MARRERO,
in his Individual and Official Capacities; and
DEPUTY SUPERINTENDENT ANTHONY SMITH,
in his Individual and Official Capacities,            Andrew Ringel



       Defendants.

                                  COURTROOM MINUTES
Status Conference

10:05 a.m.     Court in session.

Court calls case. Appearances of Counsel via VTC.

Discussion regarding status of Plaintiff.

ORDERED: The Preliminary Injunction Hearing settings for December 12, 2022,
         at 9:00 a.m., and December 13, 2022, at 9:00 a.m., are VACATED and
         RESET to resume on Wednesday, December 14, 2022, at 11:00 a.m.,
         and Thursday, December 15, 2022, at 9:00 a.m. Plaintiff’s Counsel
         shall immediately advise the Court of any further scheduling
         accommodations, as needed.

10:13 a.m. Court in recess.
Hearing concluded.
Total time in court: 8 minutes.
